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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ERICA INTZEKOSTAS, as Attorney-in-   :            CIVIL ACTION
Fact for ZENA INTZEKOSTAS            :
                                     :
            v.                       :
                                     :
ATRIA CENTER CITY, ATRIA SENIOR      :
LIVING, INC., WG CENTER CITY SH, LLC :
and WG SG SENIOR LIVING HOLDINGS :
LLC                                  :            NO. 20-5540

                                       ORDER

      NOW, this 29th day of December, 2020, upon consideration of the Notice of

Removal (Document No. 1), the plaintiff’s complaint, the plaintiff’s request for remand

and the memoranda of law submitted by the parties, it is ORDERED that pursuant to 28

U.S.C. § 1447(c), this action is REMANDED to the state court from which it was

removed.

                                              /s/ Timothy J. Savage
                                              TIMOTHY J. SAVAGE, J.
